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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

        v.
                                                        Case No. 23 Cr. 347 (JGK)
 ALEXANDER MASHINSKY,

                       Defendant.


        DECLARATION OF MICHAEL F. WESTFAL IN OPPOSITION TO THE
                  GOVERNMENT’S MOTIONS IN LIMINE

Pursuant to 28 U.S.C. § 1746, I, Michael F. Westfal, declare as follows:

       1.      I am an attorney admitted to practice before this Court and counsel with the law

firm Mukasey Young LLP.

       2.      I am a counsel of record for Defendant Alexander Mashinsky in the above-

captioned action.

       3.      I submit this declaration in opposition to the government’s motions in limine

(ECF No. 77). The exhibits cited in this declaration have been filed under seal pursuant to the

Court’s August 9, 2023 protective order, ECF No. 22.

       4.      Attached as Exhibit A is a July 22, 2021 email stamped as SDNY_R01_

03564959.

       5.      Attached as Exhibit B is an August 3, 2021 email stamped as SDNY_R01_

03564847.

       6.      Attached as Exhibit C is an April 12, 2022 email stamped as SDNY_R02_

00462429.

       7.      Attached as Exhibit D is an April 15, 2022 email stamped as SDNY_R01_

03565151.
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      8.     Attached as Exhibit E is an excerpt of a document stamped as SDNY_R01_

00079433.

      I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York                            /s/ Michael F. Westfal
       November 8, 2024                             Michael F. Westfal

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                                                    michael.westfal@mukaseylaw.com

                                                    Counsel for Defendant Alexander Mashinsky




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